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MINUTE ENTRY
FALLON, J.
MAY 24, 2023

                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

BILAL HANKINS                                                   CIVIL ACTION

VERSUS                                                          NO. 21-1129

KEVIN WHEELER, ET AL                                            SECTION: L (1)

BEFORE JUDGE ELDON E. FALLON
Case Manager: Dean Oser
Court Reporter: Jodi Simcox

Appearances: Stephanie Willis, Esq., Amara Lopez, Esq., Christina Jensen, Esq., Christopher
             Andrews, Esq., Erin Wheeler, Esq., Nora Ahmed, Esq. and Patrick Gibbs, Esq.,
             for Plaintiff
             Mark Hanna, Esq., for Defendants Kevin Wheeler, Ramon Pierre, Carl Perilloux,
             Hurtsville Security and Neighborhood Improvement District, Kerry Najolia,
             Southeast Louisiana Flood Protection Authority-East, Michael Brenckle, Darnell
             Laurent, Thaddeus Petit and Jamel Brown
             Rachel Wisdom, Esq., for Defendants Housing Authority of New Orleans, Tyrone
             Martin, Demetrius Jackson, Tommy Mercadal and Leontine Mullins

Motion of Defendants, Demetrius Jackson, Tyrone Martin, Tommy Mercadal and Leontine
Mullins, for Summary Judgment on the Basis of Qualified Immunity (142)

After argument – motion was taken under submission

Motion of Defendants, Michael Brenckle, Jamel Brown, Darnell Laurent, Kerry Najolia, Carl
Perilloux, Thaddeus Petit, Ramon Pierre and Kevin Wheeler, for Summary Judgment (143)

After argument – motion was taken under submission




JS10: 1:22
